   Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 1 of 38



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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MONTANA
                         MISSOULA DIVISION

TANYA GERSH,
                                      Case No.: 9:17-cv-00050-DLC-JCL
      Plaintiff,

      vs.                             PLAINTIFF’S BRIEF IN
                                      OPPOSITION TO DEFENDANT’S
ANDREW ANGLIN, publisher of           MOTION TO COMPEL PLAINTIFF
the Daily Stormer,                    TO RESPOND TO REQUESTS FOR
                                      PRODUCTION
      Defendant.
        Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 2 of 38




                                              TABLE OF CONTENTS

TABLE OF CONTENTS .......................................................................................................... i

TABLE OF AUTHORITIES ................................................................................................. iii

INTRODUCTION ..................................................................................................................... 1

   I.     FACTUAL BACKGROUND..........................................................................1

          A. Plaintiff’s Discovery Requests and Defendant’s Responses ......................1

          B. Defendant’s Discovery Requests and Plaintiff’s Responses .......................2

          C. Proposed Stipulated Protective Order..........................................................5

          D. Meet and Confer Discussion ......................................................................6

   II. PRELIMINARY STATEMENT .....................................................................9

   III. LEGAL STANDARD .....................................................................................9

   IV. ARGUMENTS AND AUTHORITIES .........................................................10

          A. Plaintiff’s Objections Are Specifically Tailored to Each Request and Her
            Responses and Production of Documents Are Not Deficient. ..................10

             1. Plaintiff properly redacted her answers and withheld documents
             pursuant to the Parties’ prior agreement to mark such information
             confidential and subject to a protective order. ...........................................11

                   a. Plaintiff properly redacted financial and healthcare information
                   (Interrogatories Nos. 1, 2, 6 and 11). ............................................................ 12

             2. Plaintiff specifically objected to interrogatories and RPDs that are
             unlimited in time and scope and fully responded within specifically
             identified limits. .........................................................................................14

                   a. Plaintiff properly limited the scope of Interrogatory No. 3 and fully
                   responded............................................................................................................. 15

                   b. Plaintiff properly limited the scope of Interrogatory No. 4 and fully
                   responded............................................................................................................. 16


                                                                                                                                 Page i
       Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 3 of 38



                   c. Plaintiff properly limited the scope of Requests for
                   Production….16

                   d. Plaintiff properly objected to Defendant’s demand that she detail
                   more than 700 individual harassing messages she and others received
                   and properly referred Defendant to responsive documents
                   (Interrogatory No. 14). ..................................................................................... 17

          B. Documents Subject to Attorney-Client and Clergy Privileges Are Properly
             Withheld.....................................................................................................20

              1. A client does not waive attorney-client privilege by including her
              attorneys’ support staff and investigators. .................................................20

              2. The Clergy Privilege applies to the confidential conversation between
              Plaintiff and Rabbi Secher. ........................................................................23

          C. Defendant Has No Basis For An Award of Fees Or Costs........................27

   V. CONCLUSION..............................................................................................28

EXHIBIT INDEX .................................................................................................................... 29

CERTIFICATE OF COMPLIANCE .................................................................................. 30

CERTIFICATE OF SERVICE ............................................................................................. 31




                                                                                                                          Page ii
       Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 4 of 38



                                       TABLE OF AUTHORITIES
Cases
Avirgan v. Hull, 116 F.R.D. 591 (S.D. Fla. 1987) ...................................................15

Bracy v. Gramley, 520 U.S. 899, 909 (1997) ..........................................................10

Doe v. Attorney Gen. of the United States, 941 F.2d 780, 795 (9th Cir. 1991) .......14

Griffin v. Coughlin, 743 F. Supp. 1006, 1028 (N.D.N.Y. 1990) .............................24

Hearn v. Rhay, 68 F.R.D. 574, 579 (E.D. Wash. 1975) ..........................................22

In re Grand Jury Investigation, 918 F.2d 374, 380 (3d Cir. 1990) .........................26

In re von Bulow, 828 F.2d 94, 100 (2d Cir. 1987) ...................................................22

Kevlik v. Goldstein, 724 F.2d 844, 849 (1st Cir. 1984) ...........................................21

Klitzman, Klitzman & Gallagher v. Krut, 744 F.2d 955, 960 (3d Cir. 1984)..........22

Laxalt v. McClatchy 809 F.2d 885, 888 (D.C. Cir 1987) ........................................10

Loop AI Labs Inc. v. Gatti, 2016 WL 9132846, at *3 (N.D. Cal. May 6, 2016) .....15

Marshall v. Westinghouse Electric Corp., 576 F.2d 588 (5th Cir. 1978)................14

Mullen v. United States, 263 F.2d 275, 280 (D.C. Cir. 1958) .................................24

Newman v. Poquette, 2012 WL 487116, at *3 (C.D. Cal. Jan. 12, 2012), report and
 recommendation adopted, 2012 WL 487089 (C.D. Cal. Feb. 15, 2012) .............14

Norman-Bloodsaw v. Lawrence Berkeley Lab., 135 F.3d 1260, 1269 (9th Cir.
 1998) .....................................................................................................................14

Omokehinde v. Detroit Bd. of Educ., 251 F.R.D. 261, 266 (E.D. Mich. 2007).........8

Osborne v. Billings Clinic, No. CV 14-126-BLG-SPW, 2015 WL 1643379, at *1
 (D. Mont. Apr. 13, 2015)......................................................................................28

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Rasmussen v. Bennett, 741 P.2d 755, 758–59. (Mont. 1987) ..................................24




                                                                                                                  Page iii
       Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 5 of 38



Rutherford v. PaloVerde Health Care Dist., 2014 WL 12633523, at *4 (C.D. Cal.
  Apr. 25, 2014).......................................................................................................18

Sallis v. Univ. of Minn., 408 F.3d 470, 478 (8th Cir. 2005) ....................................15

San Diego Unified Port Dist. v. Monsanto Co., No. 15-CV-0578-WQH-AGS, 2018
  WL 3656298, at *1 (S.D. Cal. Aug. 2, 2018).......................................................15

Scott v. Hammock, 870 P.2d 947 (Utah 1994) .........................................................23

State v. Gooding, 989 P.2d 304, 307 (Mont. 1999) .......................................... 24, 27

State v. MacKinnon, 957 P.2d 23, 28. (Mont. 1998) ...............................................23

Torcaso v. Watkins 367 U.S. 488, 495 (1961) .........................................................23

Tumbling v. Merced Irr. Dist., 262 F.R.D. 509, 515 (E.D. Cal. 2009) ...................14

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  ..............................................................................................................................15

U.S. v. Christensen, 828 F.3d 763, 802 (9th Cir. 2016) ..........................................22

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United States v. Landof, 591 F.2d 36, 38 (9th Cir. 1978) ........................................10

United States v. Moscony, 927 F.2d 742, 751–752 (3rd Cir. 1991) ........................21
Yates v. W. Contra Costa Unified Sch. Dist., No. 16-CV-01077-MEJ, 2017 WL
  2106130, at *2 (N.D. Cal. May 15, 2017) ............................................................18
Young v. AXA Art Ins. Corp., 2010 WL 11598063, at *4 (C.D. Cal. Oct. 5, 2010) 18
YS Garments v. Cont'l Cas. Co., 2018 WL 3829764, at *4 (C.D. Cal. Jan. 29, 2018)
  ..............................................................................................................................22
Statutes
Mont. Code Ann. § 26-1-804 ...................................................................................26

Mont. Code Ann. § 41-3-201 ...................................................................................25

Mont. Code Ann. §15-6-201(2)(b)...........................................................................25




                                                                                                                      Page iv
       Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 6 of 38



Other Authorities

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Eric Bradner, Alt-right leader: “Hail Trump! Hail our people! Hail victory!,”
  CNN (Nov. 22, 2016) ...........................................................................................25

McCormick on Evidence, § 91 at 189 (1972) ..........................................................22

Paul R. Rice, Attorney-Client Privilege in the United States § 3:3 (2014) .............23

Proposed Fed. R. Evid. 506, 56 F.R.D. at 247.........................................................25

Worship, Congregation Beth Shalom, https://bethshalombozeman.org/worship/...25

Rules
Fed. Civ. P. R. 26(b) ................................................................................................10

Fed. Civ. P. R. 26(c).................................................................................................13

Fed. R. Civ. P. 34 .....................................................................................................18

Fed. R. Evid. 501 .....................................................................................................23

Mont. Prof. Conduct R. 1.0 (e) ................................................................................21




                                                                                                                Page v
     Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 7 of 38



                                INTRODUCTION

   COMES NOW, Plaintiff, Tanya Gersh, and files this Brief in Opposition to

Defendant’s Motion To Compel Plaintiff To Respond To Requests For Production

and shows that Defendant’s motion is unfounded. Plaintiff has complied with all

discovery requests, produced more than 1275 responsive documents, and provided

either complete responses or appropriate objections.

                       I.     FACTUAL BACKGROUND

      Plaintiff filed this above-captioned action on April 18, 2017, alleging that

Defendant invaded her privacy, intentionally inflicted emotional distress, and

violated the Montana Anti-Intimidation Act. Plaintiff’s allegations arise out of a

series of thirty articles posted on Defendant’s website in which he directs his

followers to harass Plaintiff. In his articles, Defendant provided telephone

numbers, physical addresses, social media handles, and email addresses for

Plaintiff, her husband, her then-12-year-old son, her associates, and other members

of the Whitefish, Montana community based on their perceived affiliation with

Plaintiff. As a result of Defendant’s actions, Plaintiff received over 700 harassing

and/or threatening communications.

      A. Plaintiff’s Discovery Requests and Defendant’s Responses

      Plaintiff first served Defendant with discovery requests on June 7, 2018. On

July 9, 2018, Defendant served his initial discovery responses consisting entirely of



                                                                                  Page 1
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 8 of 38



boilerplate objections and filed a motion seeking a 60-day extension of time to

provide substantive responses. On July 13, 2018, the Court entered an order giving

Defendant until August 10, 2018, to provide complete responses to Plaintiff’s

interrogatories and until August 27, 2018, to provide complete responses to her

requests for production. (Dkt. No. 103). On August 11, 2018, Defendant served

response to Interrogatories; he served supplemental responses to Plaintiff’s

requests for production on August 27, 2018. On October 31, 2018, Plaintiff filed a

Motion to Compel Defendant to Answer Interrogatories. On December 10, 2018,

Plaintiff filed a Motion to Compel Defendant to Respond to Request for

Production of Documents.

      By Order dated January 18, 2019, this Court issued its ruling on Plaintiff’s

Motion to Compel Answers to Interrogatories. In the order, the Court overruled

Defendant’s boilerplate objections, held that Defendant’s arguments for refusing to

answer without a Protective Order barring any person affiliated with the Southern

Poverty Law Center (SPLC) was waived as untimely and granted Plaintiff’s

motion as to 10 of 11 interrogatories, imposing limitations identified by the Court

on six. (Dkt. No. 131).

      B. Defendant’s Discovery Requests and Plaintiff’s Responses

      On September 21, 2018, Defendant served Plaintiff with Interrogatories and

Requests for Production of Documents. Plaintiff timely served her Objections and



                                                                               Page 2
     Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 9 of 38



Responses on October 25, 2018. Concurrent with Plaintiff’s response, and

consistent with the parties’ discussions, Plaintiff also provided Defendant with a

proposed Stipulated Protective Order to protect from dissemination certain

confidential information. (Ex. A). Pursuant to the proposed Stipulated Protective

Order, and the parties’ discussions pertaining thereto, Plaintiff redacted

information that the parties had agreed would be subject to the contemplated

Stipulated Protective Order and specifically preserved her objections thereto. (Dkt.

No. 117-5, at 5-9, 16-31, 44, 46).

      Plaintiff also expressly identified six weeks as a reasonable time within

which she would produce relevant, non-privileged documents and things, contrary

to Defendant’s misrepresentation of the facts (Compare Dkt. No. 135, at 7:

“[Plaintiff] stated that she would produce documents at a later date” with Dkt. No.

117-6, at 7, stating that “Plaintiffs will produce relevant, non-privileged documents

… along with a privilege log for relevant documents, within six weeks after the

service of these responses and objections) (emphasis added). Defendant did not

object to this timeframe.

      On December 6, 2018, Plaintiff produced approximately 394 documents

electronically to Defendant, redacted in accordance with the parties’ discussion

regarding the Protective Order. (Ex. B). Plaintiff’s counsel included a cover letter

with the production alerting Defendant that: a) Plaintiff had engaged a third-party



                                                                               Page 3
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 10 of 38



IT service management company to assist with electronic discovery and that any

additional documents they uncovered were expected to be available for production

by December 14, 2018; b) documents withheld based on a privilege or the work

product doctrine would be identified on a privilege log that would be produced

with any supplemental production; c) all documents responsive to non-privileged

objections would be provided within the limitations specifically described in

Plaintiff’s Objections and Responses; d) Plaintiff was withholding a small number

of documents to be produced pursuant to a protective order; and e) Plaintiff’s

counsel had redacted 1) contact information of private individuals who were the

recipients of communications relating to the subject matter of this litigation, 2)

Social Security Numbers, and 3) financial and bank account numbers, pending

entry of a protective order. (Ex. B).

      On December 14, 2018, Plaintiff’s counsel communicated to Defendant’s

counsel that “due to technical issues and staffing concerns, we will be unable to

have these supplemental electronic discovery documents ready for production

today. We believe an additional 7-10 days should suffice to prepare and deliver

these to you, and will produce as soon as they are ready.” (Ex. C). Following the

Christmas break, on December 28, 2018, Plaintiff electronically produced

approximately 884 additional documents and a seven-page Privilege Log that

allows counsel, or the Court, to assess the validity of each assertion of attorney-



                                                                                Page 4
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 11 of 38



client, work-product, constitutional, statutory or common-law privacy interests or

any other privilege. (Ex. D).

      C. Proposed Stipulated Protective Order

      As set out above, Plaintiff sent a proposed draft of a Stipulated Protective

Order with her Objections and Responses to Defendant’s discovery requests based

on the parties’ earlier discussions regarding same, and specifically reserved

objections based thereon:

      The parties are currently in negotiations with respect to a Protective
      Order to protect the release of information that would violate the
      rights of privacy, or subject third parties to harassment, abuse or harm.
      Plaintiff objects to the production of her, or other parties’, confidential
      medical documents and will not produce those documents unless
      directed by the Court to do so pursuant or pursuant to a Protective
      Order entered by the Court. In addition, Plaintiff declines to provide
      releases to permit nonparties to produce her medical records but
      instead will produce those records herself.

(Dkt. No. 117-6, at 5; see also Dkt. No. 117-5, at 5 (same as to Response to

Interrogatories)).

      On November 20, 2018, Defendant provided proposed edits to the Plaintiff’s

proposed Stipulated Protective Order. On January 25, 2019, Plaintiff provided

Defendant with her final proposed Stipulated Protective Order and a draft motion.

She agreed to the essential terms of discovery materials suggested by Defendant to

be marked “Confidential” (“(a) trade secrets, (b) proprietary business

information”) and “Highly Confidential” (i.e., “(a) medical information concerning



                                                                                Page 5
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 12 of 38



any individual; (b) personally identifying information (e.g., social security

numbers, home addresses, telephone numbers, and bank account numbers); (c)

information related to minors; (d) information so highly sensitive that its disclosure

to a competitor could result in a significant commercial disadvantage to the

designating party.”). (Dkt. No. 136-3, at 3-4). Plaintiff rejected additional terms

that Defendant had inserted.

      The parties discussed the proposed Stipulated Protective Order at their meet

and confer discussion on January 30, 2019 and agreed that they were at an impasse

with respect to the breadth of the Protective Order sought. Because Plaintiff did

not, and does not, agree to the additional terms Defendant insisted upon, Plaintiff

filed a Motion to Enter a Protective Order on February 11, 2019.

      D. Meet and Confer Discussion

      The parties held a meet and confer discussion on January 30, 2019. The

parties discussed the issues now raised in Defendant’s motion to compel.

Plaintiff’s counsel pointed out that Plaintiff’s objections were not “boilerplate,” but

specific as to each Interrogatory and that her answers were complete as specifically

limited. Defendant continued to press his position that SPLC is, somehow, not a

law firm and therefor communications that included non-attorney support staff

assisting the attorneys were not entitled to attorney-client privilege. Defendant also




                                                                                Page 6
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 13 of 38



argued that communication with a retired clergy member was not entitled to the

clergy privilege. The parties were unable to reach agreement on these points.

      The parties discussed Defendant’s position that Plaintiff’s objections based

on First Amendment and Montana confidentiality rules were deficient. Plaintiff’s

counsel agreed to discuss Defendants arguments on these points with co-counsel

and client and provide a timely response. Although Plaintiff’s counsel agreed to

make a good faith attempt to respond within a week, she noted that doing so would

be difficult given that four of the five intervening business days would be devoted

to travel and depositions in this case. Accordingly, all counsel agreed on the call

that if Plaintiff’s counsel were unable to meet prior to February 6, they would

respond by February 8, the day after counsel returned from depositions in

Montana. 1

      On February 5, 2019, Plaintiff emailed Defendant’s counsel apprising them

that, “Plaintiff’s legal team has not had an opportunity to discuss your positions as

relayed in the afore-referenced meeting given travel to and from Montana and the

daily depositions, including the need to continue Ms. Spencer’s deposition an

additional day. We are scheduled to do so Friday [2/8/19], and intend to provide

our response by close of business on the same day.” (Ex. E). On February 8, 2019,



1
  Defendant, again, omits relevant facts in his filing. See Dkt. No. 134, at 2
(“Plaintiff agreed to produce documents on February 6, 2019 but did not do so.”).

                                                                               Page 7
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 14 of 38



Plaintiff informed Defendant that “counsel has discussed the concerns you

expressed in the meeting. We will be timely supplementing our discovery in

accordance with those discussions.” (Ex. F). Defendant did not request further

clarification or a timeline for supplementation, and instead filed the instant motion

on the following business day. Had he inquired, Plaintiff would have relayed that

she intended to waive objections based on First Amendment and state regulatory

confidentiality concerns 2 and would have provided a timeline for production.

      On February 22, 2019, after an additional review of documents, Plaintiff

timely supplemented her responses. (Ex. G). Accordingly, Defendant’s arguments

are moot as to Interrogatory No. 13, Request No. 2, and Privilege Log Items Nos.

2, 22, 45. In addition, for the convenience of the Court and not waiving her

objection that the request exceeds the number of allowable Interrogatories, Plaintiff

supplemented her responses to include a response to Interrogatory No. 15.



2
  Although Plaintiff has decided to waive her objections based on the First
Amendment and Montana confidentiality rules, neither area of the law is as black
and white as Defendant argues in his brief. See, e.g., Omokehinde v. Detroit Bd. of
Educ., 251 F.R.D. 261, 266 (E.D. Mich. 2007) (noting that the fact that discovery
request was directed to a non-journalist party who was source of information,
rather than a subpoena directed to a reporter, did not alter the analysis: “In either
case, there is an unwarranted and dangerous intrusion into news-gathering activity
that must be factored into the discovery decision”). And see, 37 Mont. Op. Att’y
Gen. 460 (1978) (citing a Minnesota decision allowing pre-decision information to
be withheld and setting out that public access to information relating to complaints
or to allegations is within discretion of the Board to withhold where a disclosure
would violate a privileged or confidential communication).

                                                                               Page 8
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 15 of 38



                     II.    PRELIMINARY STATEMENT

      As set out above, the contrast between the parties’ actions with respect to

discovery obligations could not be starker, and Defendant’s attempt to draw a false

equivalency should be rejected. Plaintiff has preserved documents since the

litigation began, conducted a comprehensive search of all electronics to which she

has access, and engaged an outside discovery team to conduct an additional search

on her and her husband’s electronics. Plaintiff has produced more than 1,250

documents, 150 audio files, and provided 51 pages of responses to interrogatories

in conformity with the federal rules and without involving the Court.

      By contrast, after two Court Orders and more than eight months, Defendant

has yet to produce any non-public documents or truthful and complete answers to

interrogatory requests, and he “cannot recall” any steps taken to preserve and

search for responsive documents. (Dkt. No. 128-1, at 5). In addition, Defendant has

failed to provide a location in which his deposition can be taken, despite repeated

requests from Plaintiff’s counsel to do so. See Ex. H.

                           III.   LEGAL STANDARD

      Rulings regarding the proper scope of discovery, and the extent to which

discovery may be compelled, are matters consigned to the court’s discretion and

judgment. Bracy v. Gramley, 520 U.S. 899, 909 (1997); Payne v. Exxon Corp., 121

F.3d 503, 510 (9th Cir.1997). This discretion is guided, however, by certain basic



                                                                              Page 9
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 16 of 38



principles. Valid claims of relevance and privilege govern the court’s discretion in

ordering discovery. Laxalt v. McClatchy 809 F.2d 885, 888 (D.C. Cir 1987). The

burden of proving that a privilege applies is placed upon the party asserting the

privilege. United States v. Landof, 591 F.2d 36, 38 (9th Cir. 1978).

                    IV.   ARGUMENTS AND AUTHORITIES

       A. Plaintiff’s Objections Are Specifically Tailored to Each Request and
          Her Responses and Production of Documents Are Not Deficient.

       Defendant complains that Plaintiff’s objections to Interrogatories and

Requests for Production (RPDs) are, somehow, “boilerplate” and unavailing. This

assertion is blatantly false. See Dkt. Nos. 135-3; 135-4. On their face, Plaintiff’s

objections to Interrogatories are tailored to the request propounded; each objection

identifies specifically the bases upon which the objection lies; and where and how

the request went beyond the scope of the federal rules, Fed. Civ. P. R. 26(b), she

appropriately limited the scope of the response and comprehensively answered

each accordingly.

       In addition, as set forth below, Plaintiff did not “refuse” to produce

documents, she agreed to produce documents: a) subject to appropriate and

specifically identified limits where the RPDs went beyond the scope of the federal

rules, and b) pursuant to the protective order then being negotiated between the

parties.




                                                                                Page 10
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 17 of 38



   Defendant’s assertion that “Plaintiff has not informed Defendant whether other

responsive documents are being withheld,” (Dkt. No. 135, at 13), is also simply not

true. Plaintiff noted in her Responses to Defendant’s RPD that she was producing

all documents pursuant to the limitations described and that only documents

identified on the Privilege Log were withheld. (Dkt. No. 117-6). Her counsel

further clarified, in concurrent correspondence, that no additional responsive non-

privileged documents were withheld that were not identified on the Privilege Log,

pursuant to the limitations asserted. (Ex. B).

   Defendant’s additional arguments regarding alleged deficiencies responsive to

specific requests are likewise baseless, as set forth below.

             1. Plaintiff properly redacted her answers and withheld
                documents pursuant to the Parties’ prior agreement to mark
                such information confidential and subject to a protective
                order.

      As set forth above, the parties had discussed and agreed to file a Protective

Order to protect from dissemination certain categories of information, including

financial, medical and certain contact information of parties who could be targeted

for harassment. Accordingly, contrary to Defendant’s inaccurate assertions that

“Plaintiff refused to respond to Interrogatories 1, 2, 6 [and] 11,” (Dkt. No. 135, at

8), Plaintiff: a) fully responded to these Interrogatories; b) redacted only

information that both parties agreed would be subject to a Protective Order; c)

concurrently served Defendant with a proposed Protective Order conforming to

                                                                               Page 11
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 18 of 38



counsel’s discussions regarding same; and d) specifically referenced the parties

ongoing negotiations regarding a Protective Order, reserving objections in

accordance therewith. (Dkt. No. 117-5, at 5). 3

      All of the redacted information about which Defendant now complains falls

within the categories of agreed upon information which would fall under the

category of “Confidential” or “Highly Confidential.” Despite good faith

negotiations, the parties ultimately were unable to agree to a Stipulated Order

because Defendant insisted on additional terms that Plaintiff believes are too

discretionary, unnecessary, and onerous, and which would limit access even to

Plaintiffs’ counsel.

                       a. Plaintiff properly redacted financial and healthcare
                          information (Interrogatories Nos. 1, 2, 6 and 11).

      Interrogatories No. 1 and 11 seek information about Plaintiff’s financial

situation. Plaintiff objected to the extent that the requests seek information

protected by the rights to privacy founded in the U.S. and Montana Constitutions,

and fully responded, redacting only highly sensitive financial data (wages and

annual earnings).


3
  Defendant, by contrast, served his responses upon Plaintiff on August 11, 2018,
refusing to provide any information, redacted or otherwise, claiming he would do
so only upon entry of a Protective Order that barred even Plaintiff’s counsel from
viewing. Not only was such a term specifically rejected by Plaintiff at the time,
Defendant did not provide a proposed order, as did Plaintiff, nor take any steps to
procure one even after Plaintiff filed a motion to compel his answers.

                                                                                 Page 12
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 19 of 38



      Interrogatory No. 2 seeks confidential medical and healthcare information,

including privileged therapist-patient information, related to Plaintiff’s alleged

injuries. Plaintiff objected to the extent that the request seeks information protected

by the rights to privacy founded in the U.S. and Montana Constitutions, and fully

responded, redacting only highly sensitive and private information.

      Interrogatory No. 6 seeks personal contact information of potential

witnesses. Plaintiff provided a 16-page response, listing 78 people, redacting only

contact information to protect witnesses from harassment and abuse.

      Plaintiff is entitled to withhold the information redacted subject to a

Protective Order, even if the parties had not reached agreement as to the essential

terms, because confidential health information, financial information and contact

information of individuals who could be targeted for harassment are the kinds of

information that Defendant is inclined to use to continue his campaign of

harassment against Plaintiff, and those he considers his ‘enemies.’ See Fed. Civ. P.

R. 26(c) (“the court may, for good cause, issue an order to protect a party or person

from annoyance, embarrassment, oppression, or undue burden or expense.”).

Defendant has viciously and persistently targeted Plaintiff for harassment,

humiliation and abuse by widely disseminating any and all information he gets his

hands on—including photographs of her and her children.




                                                                                Page 13
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 20 of 38



       In addition, “[t]he Ninth Circuit recognizes a constitutional right to the

privacy of medical information in a variety of contexts.” Newman v. Poquette,

2012 WL 487116, at *3 (C.D. Cal. Jan. 12, 2012), report and recommendation

adopted, 2012 WL 487089 (C.D. Cal. Feb. 15, 2012); Norman-Bloodsaw v.

Lawrence Berkeley Lab., 135 F.3d 1260, 1269 (9th Cir. 1998) (“The

constitutionally protected privacy interest in avoiding disclosure of personal

matters clearly encompasses medical information and its confidentiality.”) (citing

Doe v. Attorney Gen. of the United States, 941 F.2d 780, 795 (9th Cir. 1991)).

              2. Plaintiff specifically objected to interrogatories and RPDs that
                 are unlimited in time and scope and fully responded within
                 specifically identified limits.

       Although access to discovery is broad, it is not unconstrained. Marshall v.

Westinghouse Electric Corp., 576 F.2d 588 (5th Cir. 1978) (holding that discovery

rules “do[] not ... permit a plaintiff to ‘go fishing’ and [that] a trial court retains

discretion to determine that a discovery request is too broad and oppressive”).

Discovery requests must be limited in scope and time so as not to impose an

excessive burden on the answering party. See, e.g., Tumbling v. Merced Irr. Dist.,

262 F.R.D. 509, 515 (E.D. Cal. 2009) (limiting discovery of prior complaints to

period beginning two years prior to earliest alleged incident, where request covered

period beginning approximately ten years before); Sallis v. Univ. of Minn., 408

F.3d 470, 478 (8th Cir. 2005) (affirming limitation on scope of discovery to no


                                                                                  Page 14
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 21 of 38



more than one year before the actions at issue). It is well-settled that it is entirely

appropriate to limit discovery responses to a reasonable time frame. See Avirgan v.

Hull, 116 F.R.D. 591 (S.D. Fla. 1987); U.S. ex rel. Jacobs v. CDS, P.A., 2016 WL

4146077, at *2 (D. Idaho Aug. 3, 2016) (denying motion to compel that sought

documents and information outside the time period “repeatedly focuse[d] on” in

the complaint); Loop AI Labs Inc. v. Gatti, 2016 WL 9132846, at *3 (N.D. Cal.

May 6, 2016) (limiting temporal scope to “a reasonable period of time connected

to the wrongdoing alleged in the operative complaint”); San Diego Unified Port

Dist. v. Monsanto Co., No. 15-CV-0578-WQH-AGS, 2018 WL 3656298, at *1

(S.D. Cal. Aug. 2, 2018) (same).

                    a. Plaintiff properly limited the scope of Interrogatory No. 3
                       and fully responded.

      Interrogatory No. 3 seeks unlimited access to Plaintiff’s medical,

psychological and/or therapeutic care. Plaintiff objected based on overbreadth and

disproportionality and set out that she was limiting her responses to: 1) Any

medical, psychological, and/or therapeutic care since April 18, 2012, to which she

answered that she had no responsive information; and 2) Any relevant care or

treatment that is similar or related to the injuries claimed in this litigation, to which

she answered that she had no responsive information. As set forth in her response

and accompanying cover letter, no information outside the scope of the appropriate

limitations identified is being withheld.

                                                                                 Page 15
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 22 of 38



                    b. Plaintiff properly limited the scope of Interrogatory No. 4
                       and fully responded.

      Interrogatory No. 4 seeks information about “any other incident or accident”

Plaintiff has ever been involved in, from birth until today. Plaintiff objected based

on overbreadth and disproportionality and set out that she was limiting her

responses to: 1) Any unrelated incident or accident in the previous five years, to

which she answered that she had no responsive information; and 2) Any similar

incident she had ever been involved in, to which she answered that she had no

responsive information. As set forth in her response and accompanying cover

letter, no information outside the scope of the appropriate limitations identified is

being withheld.

                    c. Plaintiff properly limited the scope of Requests for
                       Production.

      Defendant demanded access to a lifetime of Plaintiff’s medical, psychiatric,

employment, and health insurance records (RPD Nos. 16, 47 and 50). Plaintiff

appropriately objected to Defendant’s requests as privileged, violative of her

privacy rights, overly broad and disproportionate to the needs of the case.

However, Plaintiff responded that she would produce relevant, non-privileged

documents limited to the 5 years prior to the filing of the lawsuit subject to a

Protective Order as discussed and agreed to by the parties, see supra, Section I.C.




                                                                              Page 16
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 23 of 38



      The unfettered access Defendant seeks to decades worth of medical

information is unwarranted. Whether Plaintiff was treated for a sinus infection

when she was a teenager, or, as Defendant argues, whether she has ever been

treated for the flu, (Dkt. No. 135, at 5), is neither proportional to the needs of the

case nor relevant to whether she suffered emotional distress due to Defendant’s

barrage of anti-Semitic harassment against her. Plaintiff’s identified limitations and

agreement to provide documents in accordance therewith, subject to the agreed

upon protective order, is sufficient.

                    d. Plaintiff properly objected to Defendant’s demand that she
                       detail more than 700 individual harassing messages she and
                       others received and properly referred Defendant to
                       responsive documents (Interrogatory No. 14).

      Interrogatory No. 14 demands that Plaintiff describe “with specificity” every

harassing communication she, any member of her family, her employer, her co-

worker, her friends, her acquaintances, or her colleagues received as a result of

Defendant’s actions. Plaintiff objected based on overbreadth and disproportionality

and referred Defendant to documents produced in response to Defendant’s RPD

Nos. 3-8, 13, 15, and 23-45 (RPDs for documents evidencing all harassing

communications received). Plaintiff also identified individuals most

knowledgeable of harassing phone calls received at Plaintiff’s husband’s law firm.

      Consistent with Rule 33, that sets out that the responding party may answer

by specifying the records to be reviewed where the answer to an interrogatory may

                                                                                Page 17
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 24 of 38



be determined by examination of “a party’s business records (including

electronically stored information),” Plaintiff’s response is sufficient. Requiring

Plaintiff to list with specificity each communication, “including the date, time,

method, and content” and describe the hundreds upon hundreds of harassing

communications that she has produced – a task that would take days, if not weeks,

to complete – is the definition of “unduly burdensome” where the information is

readily available to the Defendant by simply reviewing the produced documents

that are duplicative of his request. 4




4
 Defendant’s chief complaint appears to be that Plaintiff provided documents
electronically and did not “supplement” her production with an index to identify
which documents were responsive to which request. There is no such requirement
where Plaintiff produced her documents as kept in the usual course of business.
See Fed. R. Civ. P. 34; see also, e.g., Yates v. W. Contra Costa Unified Sch. Dist.,
No. 16-CV-01077-MEJ, 2017 WL 2106130, at *2 (N.D. Cal. May 15, 2017)
(noting that “Rule 34 does not require Plaintiff to identify responsive documents in
his response; it requires Plaintiff either to object to the request with specificity (i.e.,
state the basis for his objection) and indicate whether he is withholding any
documents based on his objection, or to state he will allow inspection or produce
responsive documents.”); Young v. AXA Art Ins. Corp., 2010 WL 11598063, at *4
(C.D. Cal. Oct. 5, 2010) (“respondent is not required to organize and label
documents in a production by request number so long as the documents are
produced as they are kept in the usual course of business.”); Rutherford v.
PaloVerde Health Care Dist., 2014 WL 12633523, at *4 (C.D. Cal. Apr. 25, 2014)
(“Even if the responding party does not produce documents as kept in the usual
course of business, Rule 34 does not require the producing party to identify in its
written response to each document request exactly which page is responsive to
each request.”). Notwithstanding the above, and for the convenience of the Court,
Plaintiff is currently engaged in an effort to provide an Index that would moot
Defendant’s complaint on this point.

                                                                                  Page 18
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 25 of 38



   In addition, Defendant’s requests were so duplicative and repetitive that

identifying the request to which each responsive document is most responsive

would be unduly burdensome. For example, 29 of Defendant’s requests sought

documents evidencing the harassment Plaintiff received due to Defendant’s

actions. Plaintiff provided thousands of files responsive to these duplicative

requests. These documents were in a myriad of formats, including audio files, .pdf

files, .tiff images, .jpg images, .mp3 files, and other electronic formats. The

volume of these files, and varying formats, made it difficult to organize or

categorize these files pursuant to electronic production. In addition, because

Defendant’s 79 RPDs largely tracked each paragraph of the Complaint, many were

similarly redundant and duplicative.

   Production was further complicated due to the need to redact contact and

personal information, a task required based on the nefariousness of Defendant, an

avowed neo-Nazi, and his practice of weaponizing information for dissemination

to an international audience of anti-Semites and racists. This, in turn, required

categorizing documents into different electronic folders for electronic

production—redacted natives; non-redacted natives; redacted non-natives; and

non-redacted non-natives—before uploading for electronic production. Several

attorneys and support staff worked diligently for weeks to collect, categorize,

review, redact, number, upload and electronically transmit responsive documents.



                                                                                  Page 19
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 26 of 38



   Finally, it should be noted that, despite Defendant’s histrionics, the production

was by no means a “document dump.” There are not piles of corporate files

requiring difficult sorting to find needles inside haystacks of non-responsive

documents. All of the documents produced are specifically responsive to

Defendant’s requests, and even a cursory review of the documents easily show

which document is responsive to which category of requests.

      B. Documents Subject to Attorney-Client and Clergy Privileges Are
         Properly Withheld.

      Defendant claims that communication between a client, her attorneys and

her attorney’s litigation and support staff effects a waiver of privilege. Defendant

also argues that the fact of a clergy member’s retirement renders a conversation or

confession between a rabbi and his congregant non-privileged. As set out below,

Defendant is wrong on both counts.

             1. A client does not waive attorney-client privilege by including
                her attorneys’ support staff and investigators.

      Contrary to Defendant’s argument, attorneys do not need to be organized

around a profit-seeking model in order to be entitled to the privileges, and bound

by the obligations, of the legal profession. The SPLC – like hundreds of similarly

situated non-profit legal organizations who also engage in advocacy – are treated

as law firms under the rules of professional responsibility and their attorneys and

clients are provided the same privilege to confidential communication.



                                                                              Page 20
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 27 of 38



      Defendant’s central argument is that SPLC is not a law firm and therefore its

lawyers and their agents are not entitled to the usual rules regarding attorney-client

privilege. This argument is fundamentally flawed and unsupported in law. Under

Montana rules of professional conduct, to which Plaintiff’s lawyers are bound, a

“‘law firm’ denotes a lawyer or lawyers in a law partnership, professional

corporation, sole proprietorship or other association authorized to practice law; or

lawyers employed in a legal services organization or the legal department of a

corporation or other organization.” Mont. Prof. Conduct R. 1.0 (e) (emphasis

added).

      Plaintiff’s attorneys, and the communications at issue, are subject to the

same rules of confidentiality as are applied to all other lawyers. Whether or not a

given communication is “confidential” within the meaning of the privilege is not

determined by looking at how the organization that the attorney works for is

organized, but at the nature of the communication and the perspective of the client.

United States v. Moscony, 927 F.2d 742, 751–752 (3rd Cir. 1991); Kevlik v.

Goldstein, 724 F.2d 844, 849 (1st Cir. 1984) (decisive inquiry is “whether the

client reasonably understood the conference to be confidential”) (quoting

McCormick on Evidence, § 91 at 189 (1972)); see also Hearn v. Rhay, 68 F.R.D.

574, 579 (E.D. Wash. 1975) (intent of the party is determinative)); YS Garments v.

Cont'l Cas. Co., 2018 WL 3829764, at *4 (C.D. Cal. Jan. 29, 2018) (“the client is



                                                                              Page 21
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 28 of 38



the holder of the attorney-client privilege under federal common law, and only the

client can waive the privilege”); accord In re von Bulow, 828 F.2d 94, 100 (2d Cir.

1987); Klitzman, Klitzman & Gallagher v. Krut, 744 F.2d 955, 960 (3d Cir. 1984).

       The communications at issue here are emails between a client, her attorneys,

their in-house investigators and in-house litigation support team. The client and all

recipients understood the emails to be confidential, for the purpose of seeking and

providing legal advice, and protected under the attorney-client privilege. Each of

the SPLC staff members identified on the Privilege Log are agents of the attorneys,

whose obligations are to the client, and whose objective is advising and assisting

the attorneys in this litigation.

       Defendant’s argument is simply contrary to settled law. U.S. v. Christensen,

828 F.3d 763, 802 (9th Cir. 2016) (holding that that conversations between a

lawyer and an investigator retained by the lawyer about the lawyer’s client were

privileged); id. at 802 (“[A] communication from the attorney to a third party

acting as his agent “for the purpose of advising and defending his clients” also may

be protected if it reveals confidential client communications.) (citing United States

v. Judson, 322 F.2d 460, 462 (9th Cir. 1963)); see also Paul R. Rice, Attorney-

Client Privilege in the United States § 3:3 (2014) (explaining that “courts have

extended the privilege to confidential communications ... from the attorney to the

agent, and from the agent to the attorney”).



                                                                             Page 22
     Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 29 of 38



             2. The Clergy Privilege applies to the confidential conversation
                between Plaintiff and Rabbi Secher.

    Both Montana statutory law and the First Amendment’s protection of religious

freedom treat as privileged the communication “between lay persons and clergy if

the communications were ‘made in confidence and for the purpose of seeking or

receiving religious guidance, admonishment, or advice” where the clergy person

“was acting in his or her religious role pursuant to the practice and discipline of the

church.’” State v. MacKinnon, 957 P.2d 23, 28. (Mont. 1998) (quoting and

adopting broad interpretation of the clergy privilege announced in Scott v.

Hammock, 870 P.2d 947 (Utah 1994)). 5 In MacKinnon, the Montana Supreme

Court unequivocally adopted a “broad interpretation” of the clergy privilege in

order to adhere to the principles in “the federal First Amendment and under Article

II, Section 5 of the Montana Constitution [that] all persons are guaranteed the free

exercise of their religious beliefs and all religions are guaranteed governmental

neutrality.” Id. (citing Torcaso v. Watkins 367 U.S. 488, 495 (1961) and

Rasmussen v. Bennett, 741 P.2d 755, 758–59. (Mont. 1987)). In State v. Gooding,

989 P.2d 304, 307 (Mont. 1999), the high court further noted that the clergy-

penitent privilege “must not be so strictly construed as to violate the right to the


5
 In state law claims litigated in federal court, the federal court applies state
privilege law, “[e]xcept as otherwise required by the Constitution of the United
States ....” Fed. R. Evid. 501.


                                                                               Page 23
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 30 of 38



free exercise of religion” guaranteed by state and federal constitutions. And see,

e.g., Mullen v. United States, 263 F.2d 275, 280 (D.C. Cir. 1958) (Fahy, J.,

concurring, joined by Edgerton, J.) (noting sound policy concedes to religious

liberty the rule that secrets acquired in performance of spiritual function should not

be disclosed in judicial proceeding); Griffin v. Coughlin, 743 F. Supp. 1006, 1028

(N.D.N.Y. 1990) (free exercise clause recognizes need for privacy in confidential

communications with a spiritual advisor).

   The conversation withheld as privileged was an email exchange between

Plaintiff and Rabbi Secher, whom Plaintiff considers her rabbi and the person she

turns to for counsels on matters of how to live life in accordance with her Jewish

faith and obligations. (Ex. I, at 4). The conversation took place on November 22,

2016, the day that Plaintiff’s neighbor, Richard Spencer, a notorious anti-Semite

living in Whitefish, became national news when a video surfaced of him making

menacing anti-Semitic remarks and referencing Hitler’s Germany in the wake of

the 2016 election wherein he raised a glass with a Heil Hitler arm and yelled, “Hail

Trump, Hail Our People, Hail Victory” to a room full of White Supremacists and

Anti-Semites, many of whom responded with Nazi salutes. See, e.g., Eric Bradner,

Alt-right leader: “Hail Trump! Hail our people! Hail victory!,” CNN (Nov. 22,

2016) (“The racism and anti-Semitism of the alt-right movement were on display




                                                                               Page 24
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 31 of 38



Saturday in Washington when its members gathered to celebrate Donald Trump’s

victory.”).

      The term “clergy” is not defined in the evidence code, however; it is defined

consistently in other Montana statutes: “‘clergy’ means…(i) an ordained minister,

priest, or rabbi.” Mont. Code Ann. §15-6-201(2)(b); Mont. Code Ann. § 41-3-201

(same definition). Additional guidance in proposed Federal Rule of Evidence 506,

which sets out that “a ‘clergyman’ is a minister, priest, rabbi, or other similar

functionary of a religious organization, or an individual reasonably believed so to

be by the person consulting him.” Proposed Fed. R. Evid. 506, 56 F.R.D. at 247.

      Rabbi Secher certainly meets the definition of clergy. He was ordained by

New York’s Hebrew Union College in 1962 and earned his Doctor of Divinity

degree from Hebrew Union College in 1987. 6 He has long been among the few

rabbis in the state of Montana. (Ex. J, at 3) (“Rabbi Allan Secher, who serves

Bozeman, is one of only two rabbis in all of Montana.”).




6
  See Allen Secher, Wikipedia, https://en.wikipedia.org/wiki/Allen_Secher (“Allen
received a Bachelor of Philosophy from Brandeis University, was ordained by
New York’s Hebrew Union College in 1962, and earned his Doctor of Divinity
degree from Hebrew Union College in 1987.”); Worship, Congregation Beth
Shalom, https://bethshalombozeman.org/worship/ (“Rabbi Allen Secher served as
Beth Shalom's part-time rabbi from 2003-2008. From 2008-2013 he was rabbi of
Congregation Bet Hariim of the Flathead Valley. Ordained by Hebrew Union
College in 1961, he subsequently earned his Doctor of Divinity degree.”).

                                                                               Page 25
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 32 of 38



       To Plaintiff, Rabbi Secher is her rabbi, the person she turns to for spiritual

advice and for questions regarding her duty as an adherent of the Jewish faith,

regardless of whether he is “retired” or not. 7 (Ex. I, at 4). And see Mont. Code Ann.

§ 26-1-804 (evidentiary privilege for “clergy-penitent” communications belongs to

the communicant). The email chain withheld is privileged because it was

“confidential,” in that it was “made privately and not intended for further

disclosure except to other persons present in furtherance of the purpose of the

communication,” to a “rabbi… or an individual reasonably believed so to be by the

person consulting him.” In re Grand Jury Investigation, 918 F.2d 374, 380 (3d Cir.

1990). By contrast, as Plaintiff’s counsel pointed out in the meet and confer

discussion, other conversations between Plaintiff and Rabbi Secher, as well as

Plaintiff and Rabbi Roston, were not claimed as privileged because they were not

intended to be confidential and were not for the purpose of seeking spiritual

guidance.

    Defendant’s argument that Rabbi Secher lost his ability to counsel Plaintiff in

his position to her as her spiritual advisor based solely on his decision to retire


7
  The word Rabbi translates as “teacher” in Hebrew. In the Jewish community, a
rabbi is viewed not only as a spiritual leader but as a counselor, a role model and
an educator. (Ex. I, at 2). There is no hierarchy and no central authority in Judaism
that either supervises rabbinic education or records ordinations; each branch of
Judaism regulates the ordination of the rabbis affiliated with it. (Ex. I, at 3). A
rabbinical student is awarded s’michah (“rabbinic ordination”) after the completion
of his or her training in a course of rabbinical study. (Ex. I, at 2).

                                                                                Page 26
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 33 of 38



from the daily obligations of a full-time congregational rabbinical career are not

supported. Indeed, cabining confidential communication between an adherent and

the person to whom one turns for spiritual advice based on the date of retirement

would likely violate the First Amendment as government entanglement with

religious freedom. Especially in a state like Montana, with few, if any, temples,

synagogues or rabbis, it would likely run afoul of the constitution to deny Jewish

people the ability to seek spiritual guidance or consultation unless a rabbi has

formal ties to a synagogue. See Gooding, 989 P.2d at 307 (warning that privilege

must not be so strictly construed as to violate the constitutional right to the free

exercise of religion). Courts, including Montana courts, focus on whether a clergy

person is ordained, not whether they are retired. Plaintiff can find no supporting

authority for Defendant’s narrow application of the clergy privilege.

      C. Defendant Has No Basis For An Award of Fees Or Costs

   Defendant has not come close to showing how he is entitled to expenses and

fees in filing this premature and unnecessary motion. Defendant’s failure to have

even a cursory conversation following Plaintiff’s communication that she would be

supplementing her discovery added bloat to an already baseless motion. Osborne v.

Billings Clinic, No. CV 14-126-BLG-SPW, 2015 WL 1643379, at *1 (D. Mont.

Apr. 13, 2015) (noting requirement to meet and confer is not only to resolve all

issues by agreement, but “to at least narrow and focus the matters in controversy



                                                                                Page 27
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 34 of 38



before judicial resolution is sought”) (citations omitted). Defendant also omits

relevant information and mischaracterizes Plaintiff’s discovery responses and her

counsel’s communications relating thereto, as explained herein.

   Defendant cannot excuse or obscure his failure to comply with discovery by

creating a false equivalency through a baseless motion to compel. In truth, Plaintiff

has responded timely, objected appropriately and attempted to comply fully with

her discovery obligations.

                              V.     CONCLUSION

      This Court should deny Defendant’s motion for the reasons stated herein.


      DATED February 25, 2019.

                                       /s/ Elizabeth Littrell
                                       Attorney for Plaintiff Tanya Gersh
                                       on behalf of all Attorneys for Plaintiff




                                                                             Page 28
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 35 of 38



                              EXHIBIT INDEX

Ex.   Description
A     Email To Defendant’s Counsel with Proposed Stipulated Protective Order
B     Email and Letter to Defendant’s Counsel re Production
C     Email to Defendant’s Counsel re Delay in Supplemental Production
D     Email to Defendant’s Counsel re Supplemental Production
E     Email to Defendant’s Counsel re Response to First Amendment and
      Montana Confidentiality Rules Objections
F     Email to Defendant’s Counsel Agreeing to Supplement Discovery
G     Plaintiff’s First Supplemental Response to Defendant’s First Set of
      Interrogatories and Requests for Production of Documents and Things
H     Email with Defendant’s Counsel Requesting Information On Where
      Defendant Is Willing to Be Deposed
I     Affidavit of Tanya Gersh
J     Associated Press, Some Religious Leaders in State Cover A Lot of Ground,
      Billings Gazette, Mar. 31, 2007.




                                                                        Page 29
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 36 of 38



                      CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing brief complies with Local Rule 7.1(d)(2). It

contains 6,466 words, excluding the caption, certificates of service and compliance,

tables of contents and authorities, and exhibit index.

                                       /s/ Elizabeth Littrell
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                                       on behalf of all Attorneys for Plaintiff




                                                                             Page 30
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 37 of 38



                          CERTIFICATE OF SERVICE

      I hereby certify that on this date the foregoing document was filed through

the Court’s CM/ECF filing system, and by virtue of this filing notice will be sent

electronically to all counsel of record, including:

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                                                                            Page 31
    Case 9:17-cv-00050-DLC-JCL Document 140 Filed 02/25/19 Page 38 of 38



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on this 25th day of February, 2019.
                                      /s/ Elizabeth Littrell
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                                      on behalf of all Attorneys for Plaintiff




                                                                            Page 32
